         Case 21-41656-elm7 Doc 17 Filed 08/04/21                                            Entered 08/04/21 17:53:30                          Page 1 of 114


 Fill in this information to identify your case and this filing:
 Debtor 1               James                                             Varga
                        First Name               Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                  Middle Name              Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number            21-41656-7
                                                                                                                                    Check if this is an
 (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
4215 Southcrest Dr., Arl TX 76013                        Check all that apply.                               amount of any secured claims on Schedule D:
                                                              Single-family home                             Creditors Who Have Claims Secured by Property.
                                                              Duplex or multi-unit building                  Current value of the            Current value of the
Tarrant                                                                                                      entire property?                portion you own?
                                                              Condominium or cooperative
County
                                                              Manufactured or mobile home                                $175,816.00                  $175,816.00
                                                              Land
                                                              Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.

                                                         Who has an interest in the property?
                                                                                                             Homestead
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $175,816.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                            Entered 08/04/21 17:53:30                   Page 2 of 114


Debtor 1         James Varga                                                          Case number (if known)   21-41656-7


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                           Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                   Harley                 Check one.                                 amount of any secured claims on Schedule D:
                                                   Debtor 1 only                          Creditors Who Have Claims Secured by Property.
Model:                  Tri-Glide
                                                   Debtor 2 only                           Current value of the      Current value of the
Year:                   2020                                                               entire property?          portion you own?
                                                   Debtor 1 and Debtor 2 only
Approximate mileage: 850                           At least one of the debtors and another            $35,000.00               $35,000.00
Other information:
2020 Harley Tri-Glide (approx. 850                 Check if this is community property
miles)                                             (see instructions)

3.2.                                           Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                   Pace                   Check one.                                 amount of any secured claims on Schedule D:
                                                   Debtor 1 only                          Creditors Who Have Claims Secured by Property.
Model:                  Cargo Trailer
                                                   Debtor 2 only                           Current value of the      Current value of the
Year:                   2019
                                                   Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage: 12,000                        At least one of the debtors and another             $2,500.00                $2,500.00
Other information:
2019 Pace Cargo Trailer (approx.                   Check if this is community property
12,000 miles)                                      (see instructions)

3.3.                                           Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                   Toyota                 Check one.                                 amount of any secured claims on Schedule D:
                                                   Debtor 1 only                          Creditors Who Have Claims Secured by Property.
Model:                  4Runner
                                                   Debtor 2 only                           Current value of the      Current value of the
Year:                   2020                                                               entire property?          portion you own?
                                                   Debtor 1 and Debtor 2 only
Approximate mileage: 18,658                        At least one of the debtors and another            $34,875.00               $34,875.00
Other information:
2020 Toyota 4Runner (approx. 18,658                Check if this is community property
miles)                                             (see instructions)

3.4.                                           Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                                          Check one.                                 amount of any secured claims on Schedule D:
                                                   Debtor 1 only                          Creditors Who Have Claims Secured by Property.
Model:
                                                   Debtor 2 only                           Current value of the      Current value of the
Year:
                                                   Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage:                               At least one of the debtors and another                   $0.00                  $0.00
Other information:
2016 Chevy PU - totaled                            Check if this is community property
                                                   (see instructions)
3.5.                                           Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                   Lark                   Check one.                                 amount of any secured claims on Schedule D:
                                                   Debtor 1 only                          Creditors Who Have Claims Secured by Property.
Model:                  Trailer
                                                   Debtor 2 only                           Current value of the      Current value of the
Year:                   2018                                                               entire property?          portion you own?
                                                   Debtor 1 and Debtor 2 only
Approximate mileage:                               At least one of the debtors and another             $4,800.00                $4,800.00
Other information:
2018 Lark Trailer                                  Check if this is community property
                                                   (see instructions)




Official Form 106A/B                                       Schedule A/B: Property                                                    page 2
      Case 21-41656-elm7 Doc 17 Filed 08/04/21                                             Entered 08/04/21 17:53:30                          Page 3 of 114


Debtor 1         James Varga                                                                         Case number (if known)         21-41656-7

4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $77,175.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               sofa $200                                                                                                             $3,865.00
                                3 chairs $160
                                table $50
                                8 lamps $80
                                rug $25
                                2 desks $300
                                2beds $300
                                2 dressers $250
                                5shelves $100
                                2 bar stools $50
                                barware $200
                                power tools $100
                                silverware $100
                                grill $100
                                outdoor furniture $100
                                books/cd collection $150
                                decorative items $200
                                holiday items $25
                                dishess $50
                                fridge $500
                                stove $200
                                microwave $50
                                washer $150
                                dryer $150
                                cookware $250
                                linenst $25

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               2 DVD players $50                                                                                                       $975.00
                                2 TV's $300
                                stero $100
                                kitchen electronics $100
                                2 computers $250
                                2 cell phones $150
                                games/game systems $25




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 3
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                                                      Entered 08/04/21 17:53:30                                             Page 4 of 114


Debtor 1          James Varga                                                                                                       Case number (if known)                   21-41656-7

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............


9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                                   $275.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Wearing apparel                                                                                                                                                             $500.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Costume jewelry $300                                                                                                                                                        $550.00
                                         Aqua & silver Wedding Ring $150
                                         Silver Wedding Band $100

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                3 dogs                                                                                                                                                                        $75.00


14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                   $6,240.00


  Part 4:           Describe Your Financial Assets
                                                                                                                                                                                       Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
                                                                                                                                                                                                                   $250.00
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                                  page 4
      Case 21-41656-elm7 Doc 17 Filed 08/04/21                                                Entered 08/04/21 17:53:30                  Page 5 of 114


Debtor 1         James Varga                                                                          Case number (if known)   21-41656-7

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................             Institution name:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                     % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                         Schedule A/B: Property                                               page 5
      Case 21-41656-elm7 Doc 17 Filed 08/04/21                                       Entered 08/04/21 17:53:30                       Page 6 of 114


Debtor 1        James Varga                                                                   Case number (if known)    21-41656-7

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                    Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                              Federal:
           about them, including whether
           you already filed the returns                                                                               State:
           and the tax years.....................................
                                                                                                                       Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information Personal Note - Danna Bradshaw                                                                    $7,500.00
                                                      Account is delinquent

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                           Beneficiary:                      Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............




Official Form 106A/B                                                 Schedule A/B: Property                                                       page 6
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                                        Entered 08/04/21 17:53:30                                    Page 7 of 114


Debtor 1         James Varga                                                                                         Case number (if known)             21-41656-7

35. Any financial assets you did not already list

            No
            Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $7,750.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................
                              home printer & file cabinet $75                                                                                                                $775.00
                                   3 i_ads, 3 computers, 4 monitiors 2 chairs 3 desks & bookshelves $7700

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............


44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................       $775.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                                        Entered 08/04/21 17:53:30                                    Page 8 of 114


Debtor 1          James Varga                                                                                        Case number (if known)             21-41656-7


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................


50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.
             misc junk, glasses, buckets, gardening, outdoor pictures                                                                                                        $200.00

54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                         $200.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 8
         Case 21-41656-elm7 Doc 17 Filed 08/04/21                                                               Entered 08/04/21 17:53:30                                         Page 9 of 114


Debtor 1           James Varga                                                                                                Case number (if known)                21-41656-7


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $175,816.00

56. Part 2: Total vehicles, line 5                                                                                  $77,175.00

57. Part 3: Total personal and household items, line 15                                                               $6,240.00

58. Part 4: Total financial assets, line 36                                                                           $7,750.00

59. Part 5: Total business-related property, line 45                                                                     $775.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                     $200.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $92,140.00              property total                 +           $92,140.00


63. Total of all property on Schedule A/B.                                                                                                                                                  $267,956.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 9
     Case 21-41656-elm7 Doc 17 Filed 08/04/21                     Entered 08/04/21 17:53:30                 Page 10 of 114


Debtor 1    James Varga                                                     Case number (if known)   21-41656-7


9.   Equipment for sports and hobbies (details):

     camers/bikes $175                                                                                            $175.00

     fishing poles & luers $100                                                                                   $100.00




Official Form 106A/B                               Schedule A/B: Property                                           page 10
     Case 21-41656-elm7 Doc 17 Filed 08/04/21                                    Entered 08/04/21 17:53:30                      Page 11 of 114


 Fill in this information to identify your case:
 Debtor 1            James                                       Varga
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number         21-41656-7                                                                                      amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                         $35,000.00                     $0.00           11 U.S.C. § 522(d)(2)
2020 Harley Tri-Glide (approx. 850 miles)                                         100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:      3.1
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                          $2,500.00                     $0.00           11 U.S.C. § 522(d)(2)
2019 Pace Cargo Trailer (approx. 12,000                                           100% of fair market
miles)                                                                            value, up to any
Line from Schedule A/B: 3.2                                                       applicable statutory
                                                                                  limit

Brief description:                                         $34,875.00                     $0.00           11 U.S.C. § 522(d)(2)
2020 Toyota 4Runner (approx. 18,658                                               100% of fair market
miles)                                                                            value, up to any
Line from Schedule A/B: 3.3                                                       applicable statutory
                                                                                  limit


3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
     Case 21-41656-elm7 Doc 17 Filed 08/04/21                              Entered 08/04/21 17:53:30                   Page 12 of 114


Debtor 1      James Varga                                                            Case number (if known)   21-41656-7

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $3,865.00                $3,865.00          11 U.S.C. § 522(d)(3)
sofa $200                                                                    100% of fair market
3 chairs $160                                                                value, up to any
table $50                                                                    applicable statutory
8 lamps $80                                                                  limit
rug $25
2 desks $300
2beds $300
2 dressers $250
5shelves $100
2 bar stools $50
barware $200
power tools $100
silverware $100
grill $100
outdoor furniture $100
books/cd collection $150
decorative items $200
holiday items $25
dishess $50
fridge $500
stove $200
microwave $50
washer $150
dryer $150
cookware $250
linenst $25
Line from Schedule A/B: 6

Brief description:                                       $975.00                  $975.00           11 U.S.C. § 522(d)(3)
2 DVD players $50                                                            100% of fair market
2 TV's $300                                                                  value, up to any
stero $100                                                                   applicable statutory
kitchen electronics $100                                                     limit
2 computers $250
2 cell phones $150
games/game systems $25
Line from Schedule A/B:  7

Brief description:                                       $175.00                  $175.00           11 U.S.C. § 522(d)(3)
camers/bikes $175                                                            100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           11 U.S.C. § 522(d)(3)
fishing poles & luers $100                                                   100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
     Case 21-41656-elm7 Doc 17 Filed 08/04/21                              Entered 08/04/21 17:53:30                   Page 13 of 114


Debtor 1      James Varga                                                            Case number (if known)   21-41656-7

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $500.00                  $500.00           11 U.S.C. § 522(d)(3)
Wearing apparel                                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $550.00                  $550.00           11 U.S.C. § 522(d)(4)
Costume jewelry $300                                                         100% of fair market
Aqua & silver Wedding Ring $150                                              value, up to any
Silver Wedding Band $100                                                     applicable statutory
Line from Schedule A/B: 12                                                   limit

Brief description:                                       $75.00                    $75.00           11 U.S.C. § 522(d)(3)
3 dogs                                                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                  $250.00           11 U.S.C. § 522(d)(5)
Cash on hand                                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    16
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $7,500.00                $7,500.00          11 U.S.C. § 522(d)(5)
Personal Note - Danna Bradshaw                                               100% of fair market
Account is delinquent                                                        value, up to any
Line from Schedule A/B: 30                                                   applicable statutory
                                                                             limit

Brief description:                                       $775.00                  $775.00           11 U.S.C. § 522(d)(6)
home printer & file cabinet $75                                              100% of fair market
3 i_ads, 3 computers, 4 monitiors 2 chairs                                   value, up to any
3 desks & bookshelves $7700                                                  applicable statutory
Line from Schedule A/B: 39                                                   limit

Brief description:                                       $200.00                  $200.00           11 U.S.C. § 522(d)(3)
misc junk, glasses, buckets, gardening,                                      100% of fair market
outdoor pictures                                                             value, up to any
Line from Schedule A/B: 53                                                   applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                   Entered 08/04/21 17:53:30                      Page 14 of 114


  Fill in this information to identify your case:
  Debtor 1             James                                        Varga
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number          21-41656-7
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                           $141,252.00                $4,800.00           $136,452.00
Direct Capital Div of Citibank NA
Creditor's name
                                                 2018 Lark Trailer
155 Commerce Way
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Portsmouth               NH      03801               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Title Loan
   to a community debt
Date debt was incurred                           Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $141,252.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                             page 1
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                               Entered 08/04/21 17:53:30                       Page 15 of 114


Debtor 1      James Varga                                                                 Case number (if known)      21-41656-7

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                            $40,415.00                    $0.00       $40,415.00
Emvlp Llc/fis                                 2016 Chevy PU
Creditor's name
Po Box 2313
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Bloomington             IL      61702             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Vehicle Loan
   to a community debt
Date debt was incurred          07/29/2019    Last 4 digits of account number        0     0    0    1
Charge Off for $40415 on 12/20
  2.3                                         Describe the property that
                                              secures the claim:                            $40,444.00              $35,000.00         $5,444.00
Harley Davidson Financial
Creditor's name
                                              2020 Tri-Glide
Attn: Bankruptcy
Number     Street
PO Box 22048
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Carson City             NV      89721             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Vehicle Loan
   to a community debt
Date debt was incurred          03/2020       Last 4 digits of account number        4     0    6    2
Current Account
AFFECTED BY NATURAL DISASTER




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $80,859.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                               Entered 08/04/21 17:53:30                       Page 16 of 114


Debtor 1      James Varga                                                                 Case number (if known)      21-41656-7

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                               $9,313.00              $2,500.00        $6,813.00
Systems & Services Technologies, Inc.
                                    2019 Pace Tandem Trailer
Creditor's name
Attn: Bankruptcy
Number     Street
4315 Pickett Road
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Saint Joseph            MO      64503             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Secured
   to a community debt
Date debt was incurred          03/2020       Last 4 digits of account number        4     5    9    4
Current Account
  2.5                                         Describe the property that
                                              secures the claim:                            $58,377.00              $39,700.00        $18,677.00
Toyota Financial Services
Creditor's name
                                              2020 Toyota 4Runner
Attn: Bankruptcy
Number     Street
PO Box 8026
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Cedar Rapids            IA      52409             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Vehicle Loan
   to a community debt
Date debt was incurred          03/2020       Last 4 digits of account number        0     0    0    1
Current Account
FIXED RATE




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $67,690.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                               Entered 08/04/21 17:53:30                       Page 17 of 114


Debtor 1      James Varga                                                                 Case number (if known)      21-41656-7

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.6                                         Describe the property that
                                              secures the claim:                           $125,000.00             $175,816.00
Wells Fargo                                   4215 Southcrest Dr., Arlington
Creditor's name
PO Box 144411                                 TX 76013
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Des Moines              IA      50306             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Residential Mortgage
   to a community debt
Date debt was incurred                        Last 4 digits of account number        0     1    8    4




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $125,000.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $414,801.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 4
      Case 21-41656-elm7 Doc 17 Filed 08/04/21                               Entered 08/04/21 17:53:30                    Page 18 of 114


Debtor 1       James Varga                                                             Case number (if known)    21-41656-7

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        Arthur E. Anthony                                                      On which line in Part 1 did you enter the creditor?      2.6
        Name
        Locke Lord LLP                                                         Last 4 digits of account number
        Number       Street
        2200 Ross Ave #2800


        Dallas                                   TX      75201
        City                                     State   ZIP Code

  2
        EBSHarley Davidson R                                                   On which line in Part 1 did you enter the creditor?      2.3
        Name
        PO Box 21829                                                           Last 4 digits of account number
        Number       Street




        Carson City                              NV      89721
        City                                     State   ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page 5
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                                    Entered 08/04/21 17:53:30                       Page 19 of 114


  Fill in this information to identify your case:
  Debtor 1             James                                        Varga
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number          21-41656-7
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                   Last 4 digits of account number
                                                           When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                     Entered 08/04/21 17:53:30                        Page 20 of 114


Debtor 1       James Varga                                                                      Case number (if known)      21-41656-7

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $1,500.00
5828 Cubesmart TX FW Rosedale St                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
6405 E Rosedale St.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Fort Worth                      TX      76112
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Unsecured
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                        $55,573.00
Acumatica The Cloud ERP                                     Last 4 digits of account number         7     0    0     3
Nonpriority Creditor's Name
                                                            When was the debt incurred?
Alliance Solution Group
Number        Street                                        As of the date you file, the claim is: Check all that apply.
11235 SE 6th St. #140                                           Contingent
                                                                Unliquidated
                                                                Disputed
Bellevue                        WA      98004
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 21 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

   4.3                                                                                                                                    $326.00
Affirm, Inc.                                             Last 4 digits of account number      J W        T    S
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/2020
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
30 Isabella St, Floor 4                                      Contingent
                                                             Unliquidated
                                                             Disputed
Pittsburgh                    PA      15212
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes
Collection
Account Closed
   4.4                                                                                                                                $10,000.00
Albert 360                                               Last 4 digits of account number       8    8    2    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2448 East 81st St #4200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Tulsa                         OK      74137
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                  $1,100.00
American Express                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Al Van Vleck
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1097 Whisperglen Glen                                        Contingent
                                                             Unliquidated
                                                             Disputed
Rockwall                      TX      75087
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 22 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

   4.6                                                                                                                                  $1,500.00
American Express                                         Last 4 digits of account number       1    0    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Al Van Vleck
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 650448                                                Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75265
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                $32,000.00
Angel Jaramillo                                          Last 4 digits of account number       G    A    V    E
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3821 Marigold Ave
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76111
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                  $3,500.00
AT&T Wireless                                            Last 4 digits of account number       1    3    2    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Foundation Acct #07502931
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6463                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Carol Stream                  IL      60197
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 23 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

   4.9                                                                                                                                      $1.00
Attorney of Law                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Citibank NA, A Fed National Assoc
Number        Street                                     As of the date you file, the claim is: Check all that apply.
75 N. Fair Oaks Ave                                          Contingent
                                                             Unliquidated
                                                             Disputed
Pasadena                      CA      91103
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                $90,906.00
Balboa Capital Corp                                      Last 4 digits of account number       d    0    0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
575 Anton Blvd. 12th Floor
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Costa Mesa                    CA      92626
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                      $1.00
Baloba Capital                                           Last 4 digits of account number       L    C    J    C
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7000 Civic Center Dr. W
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Santa Ana                     CA      92701
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 24 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.12                                                                                                                               $112,875.00
Beacon Sales Acquisition Inc                             Last 4 digits of account number       9    7    5    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
dba Allied Building Products
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1102 West Ave #200                                           Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78701
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                               $112,874.00
Beacon Supply Acqusition Inc.                            Last 4 digits of account number       9    7    5    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1102 Lakeside Blvd #200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78701
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                  $3,500.00
Bill Blankenship Contracting Inc                         Last 4 digits of account number       7    0    3    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1001 Kennedy Lanea #230
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76131
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 25 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.15                                                                                                                                      $1.00
Boa Credit Card                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Al Van Vleck
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1097 Whispering Glen                                         Contingent
                                                             Unliquidated
                                                             Disputed
Rockwall                      TX      75087
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                  $5,000.00
Boa Credit Card                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Al Van Vleck
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 15796                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19886
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                $15,000.00
Brian Smith Attorney                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Whitaker Chalk Swimdel & Schwarts PLLC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
301 Commerce #3500                                           Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76102
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 7
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 26 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.18                                                                                                                                     $309.00
Capital One                                              Last 4 digits of account number      3 0        8    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2016
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Current Account

  4.19                                                                                                                               $1,075,000.00
Capstone Capital Partners, LLC                           Last 4 digits of account number       N    A    V    E
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Capstone Servicing Corp
Number        Street                                     As of the date you file, the claim is: Check all that apply.
507 Denali Pass #401                                         Contingent
                                                             Unliquidated
                                                             Disputed
Cedar Park                    TX      78613
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                $275,000.00
Capstone Capital Partners, LLC                           Last 4 digits of account number       H    M    A    N
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Capstone SErvicing Corp
Number        Street                                     As of the date you file, the claim is: Check all that apply.
507 Denali Pass #401                                         Contingent
                                                             Unliquidated
                                                             Disputed
Cedar Park                    TX      78613
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes



Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                           page 8
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 27 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.21                                                                                                                               $510,000.00
Capstone Capital Partners, LLC                           Last 4 digits of account number       L    A    W    N
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Capstone Servicing Corp
Number        Street                                     As of the date you file, the claim is: Check all that apply.
507 Denali Pass #401                                         Contingent
                                                             Unliquidated
                                                             Disputed
Cedar Park                    TX      78613
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                               $765,000.00
Capstone Fund LLC                                        Last 4 digits of account number       R    A     I   L
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Capstone Servicing Corp
Number        Street                                     As of the date you file, the claim is: Check all that apply.
507 Denali Pass #401                                         Contingent
                                                             Unliquidated
                                                             Disputed
Cedar Park                    TX      78613
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                                    $685.00
Capstone Fund LLC                                        Last 4 digits of account number       H     I   N    G
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Capstone Servicing Corp
Number        Street                                     As of the date you file, the claim is: Check all that apply.
507 Denali Pass #$01                                         Contingent
                                                             Unliquidated
                                                             Disputed
Cedar Park                    TX      78613
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 9
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 28 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.24                                                                                                                               $700,000.00
Capstone Fund, LLC                                       Last 4 digits of account number       L    A    N    E
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/0 Capstone Servicing Corp
Number        Street                                     As of the date you file, the claim is: Check all that apply.
507 Denali Pass #401                                         Contingent
                                                             Unliquidated
                                                             Disputed
Cedar Park                    TX      78613
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                               $700,000.00
Capstone Fund, LLC                                       Last 4 digits of account number       R    A     I   L
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Capstone Sesrvicing Corp
Number        Street                                     As of the date you file, the claim is: Check all that apply.
507 Denali Pass #401                                         Contingent
                                                             Unliquidated
                                                             Disputed
Cedar Park                    TX      78613
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                               $550,000.00
Capstone Lending Trust                                   Last 4 digits of account number       D    A    M    S
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Capstone Servicing Corp
Number        Street                                     As of the date you file, the claim is: Check all that apply.
507 Denali Pass #401                                         Contingent
                                                             Unliquidated
                                                             Disputed
Cedar Park                    TX      78613
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 10
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 29 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.27                                                                                                                                      $1.00
Chase Credit Card                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Al Van Vleck
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1097 Whispering Glen                                         Contingent
                                                             Unliquidated
                                                             Disputed
Rockwall                      TX      75087
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                                $18,413.00
Chase Credit Card                                        Last 4 digits of account number       8    9    7    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Al Van Vleck
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6294                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Carol Stream                  IL      60197
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                                      $1.00
Citibank NA, A Federal Natl Assoc                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
75 N. Fair Oaks AVe
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Pasadena                      CA      91103
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 11
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 30 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.30                                                                                                                                $18,000.00
City of Fort Worth                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 99005
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76199
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                                      $1.00
City of FW                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 99005
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76199
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.32                                                                                                                                  $5,100.00
Cloyd Investments                                        Last 4 digits of account number       V     I   E    W
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 800961
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Balch Springs                 TX      75180
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 12
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 31 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.33                                                                                                                                $11,000.00
Cloyd Investments                                        Last 4 digits of account number       L    V     I   N
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 800961
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Balch Springs                 TX      75180
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.34                                                                                                                                $12,000.00
Cowtown Redi Mix Concrete                                Last 4 digits of account number       7    3    7    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 162327
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76161
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.35                                                                                                                                  $1,019.00
Credit One Bank                                          Last 4 digits of account number      6 2        6    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/2020
Attn: Bankruptcy Department
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 98873                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Las Vegas                     NV      89193
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Charge Off for $1019 on 06/21


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 13
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 32 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.36                                                                                                                                  $1,018.00
Credit One Bank                                          Last 4 digits of account number      5 1        9    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2018
Attn: Bankruptcy Department
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 98873                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Las Vegas                     NV      89193
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Charge Off for $1018 on 06/21

  4.37                                                                                                                                    $941.00
Credit One Bank                                          Last 4 digits of account number       2    5    6    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/17/2016
Attn: Bankruptcy Department
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 98873                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Las Vegas                     NV      89193
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Current Account




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 14
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 33 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.38                                                                                                                                    $897.00
Credit One Bank                                          Last 4 digits of account number      5 2 1           4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/07/2017
Attn: Bankruptcy Department
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 98873                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Las Vegas                     NV      89193
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Current Account

  4.39                                                                                                                                    $198.00
Credit Systems International, Inc                        Last 4 digits of account number       6    9    2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2017
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 1088                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76004
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Debt
Is the claim subject to offset?
     No
     Yes
Collection
ACCOUNT IN DISPUTE




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 15
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 34 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.40                                                                                                                                $12,500.00
CTG Tech LLC                                             Last 4 digits of account number       9    2    7    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2907
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Amarillo                      TX      79105
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.41                                                                                                                                $10,000.00
Cytracom                                                 Last 4 digits of account number       1    5    0    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
450 Century Pkwy #100
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Allen                         TX      75013
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.42                                                                                                                                      $1.00
Davide Mudd                                              Last 4 digits of account number       7    5    2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
700 E Southlake Blvd. #150
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Southlake                     TX      76092
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 16
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 35 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.43                                                                                                                                $32,800.00
Delange Landen Financial Serv LLC                        Last 4 digits of account number       0    3    6    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1111 Old Eagle School Rd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wayne                         PA      19087
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.44                                                                                                                                  $8,500.00
DFW Office Systems                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
13719 Gamma Rd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75244
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.45                                                                                                                               $380,000.00
DHLC Mortgage, LLC                                       Last 4 digits of account number       R    N    O    N
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2804 Greenville Ave
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75206
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 17
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 36 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.46                                                                                                                                  $9,000.00
Dirt-Tech Constructino & Excavation                      Last 4 digits of account number       3    6    5    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7070 Hudson Cemetery Rd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Mansfield                     TX      76063
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.47                                                                                                                               $150,000.00
Equity Trust Co Custodian FBO                            Last 4 digits of account number       A    S    K     I
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Will Ford Hartnett Sr. IRA
Number        Street                                     As of the date you file, the claim is: Check all that apply.
2920 Pearl St                                                Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75201
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.48                                                                                                                                  $5,000.00
Equity Trust Company                                     Last 4 digits of account number       V     I   E    W
Nonpriority Creditor's Name
                                                         When was the debt incurred?
FBO Cynthia Pullen
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 45209                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Westlake                      OH      44145
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 18
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 37 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.49                                                                                                                                $15,000.00
Equity Trust Company Custodian                           Last 4 digits of account number       G    E    T    T
Nonpriority Creditor's Name
                                                         When was the debt incurred?
FBO Villarreal IRA #200259125
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 451340                                                Contingent
                                                             Unliquidated
                                                             Disputed
Westlake                      OH      44145
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.50                                                                                                                                $15,000.00
Equity Trust Company FBO                                 Last 4 digits of account number       E    R    T    S
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Will Ford Hartnett Sr. IRA
Number        Street                                     As of the date you file, the claim is: Check all that apply.
2920 Pearl St.                                               Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75201
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.51                                                                                                                                  $9,000.00
Equityi Trust Co Custodian                               Last 4 digits of account number       L    V     I   N
Nonpriority Creditor's Name
                                                         When was the debt incurred?
FBO Donna Hart IRRA
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 451340                                                Contingent
                                                             Unliquidated
                                                             Disputed
Westlake                      OH      44145
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 19
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 38 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.52                                                                                                                                $45,000.00
Everest Business Funding                                 Last 4 digits of account number       6    1    8    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
8200 NW 52nd Ter 2nd Floor
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Doral                         FL      33166
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.53                                                                                                                                  $2,000.00
Exact Land Durvey                                        Last 4 digits of account number       3    R    D    C
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 74133
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Cleveland                     OH      44194
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.54                                                                                                                                  $2,870.00
FA-Lending USA                                           Last 4 digits of account number       U    1    8    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 503430
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Diego                     CA      92128
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 20
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 39 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.55                                                                                                                                  $2,500.00
First Bank Card                                          Last 4 digits of account number       3    4    2    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
a div First Natl Bank of Omaha
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1620 Dodge St                                                Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68197
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.56                                                                                                                                     $36.00
First Bankcard                                           Last 4 digits of account number       6    8    8    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2951
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68103
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.57                                                                                                                               $135,000.00
First Funding GB LLC                                     Last 4 digits of account number       R    N    O    N
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2205 Martin Dr. #200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Bedford                       TX      76021
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 21
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 40 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.58                                                                                                                                  $2,778.00
First National Bank                                      Last 4 digits of account number      4 5 2           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/01/2015
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 3128                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68103
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Current Account

  4.59                                                                                                                                    $949.00
First Premier Bank                                       Last 4 digits of account number       7    2    6    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2018
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 5524                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Current Account




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 22
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 41 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.60                                                                                                                                    $536.00
First Premier Bank                                       Last 4 digits of account number      2 4        2    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2019
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 5524                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Current Account

  4.61                                                                                                                                  $6,554.00
Fort Worth Community C                                   Last 4 digits of account number       8    7    8    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2019
Po Box 210848
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Bedford                       TX      76095
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Current Account
Account Closed By Grantor




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 23
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 42 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.62                                                                                                                                  $1,776.00
Fort Worth Community C                                   Last 4 digits of account number      5 3        3    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2020
Po Box 210848
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Bedford                       TX      76095
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Current Account
Account Closed By Grantor
  4.63                                                                                                                                  $1,800.00
Fund Box Loans                                           Last 4 digits of account number       2    0    1    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
300 Montgomery St #900
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Francisco                 CA      94104
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.64                                                                                                                                  $6,755.01
FW Community CU                                          Last 4 digits of account number       0    2    0    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 672051
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75267
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 24
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 43 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.65                                                                                                                                  $1,783.16
FW Community CU                                          Last 4 digits of account number       0    2    0    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 672051
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75267
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.66                                                                                                                                $14,000.00
GCTK Merritt LLC                                         Last 4 digits of account number       L    V     I   N
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2525 Highway 360 #2224
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Euless                        TX      76039
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.67                                                                                                                                $14,000.00
GCTK Merritt LLC                                         Last 4 digits of account number       L    V     I   N
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2525 Highway 360 #2224
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Euless                        TX      76039
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 25
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 44 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.68                                                                                                                               $174,200.00
Global Realty Management TX Inc                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
15866 Champion Forest Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Spring                        TX      77379
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.69                                                                                                                                    $500.00
Handsome Web LLC                                         Last 4 digits of account number       3    6    4    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 121975
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76012
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.70                                                                                                                                  $5,500.00
Hawaiian Airlines Master Credit Card                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Al Van Vleck
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1097 Whispering Glen                                         Contingent
                                                             Unliquidated
                                                             Disputed
Rockwall                      TX      75087
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 26
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 45 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.71                                                                                                                                  $6,000.00
Hawaiian Airlines Master Credit Card                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Al Van Vleck
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Bo x8801                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19801
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.72                                                                                                                                  $9,018.84
Internal Revenue Service                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2016
PO Box 7346
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Philadelphia                  PA      19101-7346
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           1040 Taxes
Is the claim subject to offset?
     No
     Yes

  4.73                                                                                                                                  $9,177.39
Internal Revenue Service                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2017
PO Box 7346
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Philadelphia                  PA      19101-7346
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           1040 Taxes
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 27
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 46 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.74                                                                                                                                $15,000.00
Internal Revenue Service                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 7346
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Philadelphia                  PA      19101-7346
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Taxes
Is the claim subject to offset?
     No
     Yes

  4.75                                                                                                                                  $5,400.00
Investment Colleagues LLC                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
605 Parker Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Euless                        TX      76039
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.76                                                                                                                                $55,000.00
Jack Roomigh Aia                                         Last 4 digits of account number       G    A    V    E
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Knight Group Architects
Number        Street                                     As of the date you file, the claim is: Check all that apply.
212 Verna Trail N                                            Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76108
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 28
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 47 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.77                                                                                                                                  $5,500.00
JC Taylor Contracting Inc.                               Last 4 digits of account number       0    0    1    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
604 Bluebonnet Lane
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Kennedale                     TX      76060
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.78                                                                                                                                $35,000.00
Jennifer Rymell County Court Law #2                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
100 W. Weatherford
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76196
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.79                                                                                                                                  $6,000.00
John Nation                                              Last 4 digits of account number       1    0    2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4925 Greensville, #200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75206
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 29
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 48 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.80                                                                                                                                  $1,647.57
Jones Kimball law Firm PC                                Last 4 digits of account number       8    6    6    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4305 South Bowen Rd. .#101
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76016
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.81                                                                                                                                $65,000.00
Kabbage Funding                                          Last 4 digits of account number       5    0    8    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
925 B Peachtree St NE #1688
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Atlanta                       GA      30309
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.82                                                                                                                               $235,000.00
KC Capital Partners LLC                                  Last 4 digits of account number       B    E    R    T
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5151 Beltline Rd. #1050
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75254
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 30
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 49 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.83                                                                                                                                $15,000.00
KC Capital Partners LLC                                  Last 4 digits of account number       E    R    T    S
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5151 Beltline Rd. #1050
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75254
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.84                                                                                                                                  $1,100.00
KR Enterprises LLC                                       Last 4 digits of account number       L    V     I   N
Nonpriority Creditor's Name
                                                         When was the debt incurred?
605 Parker Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Euless                        TX      76039
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.85                                                                                                                                  $2,870.00
LendingUSA                                               Last 4 digits of account number      8 0 9           5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/27/2017
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
15303 Ventura Blvd, Ste 850                                  Contingent
                                                             Unliquidated
                                                             Disputed
Sherman Oaks                  CA      91403
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes
Charge Off for $2870
AFFECTED BY NATURAL DISASTER

Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 31
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 50 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.86                                                                                                                                  $2,800.00
Leon Munson Consulting Contractor                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2411 Medlin Dr
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76015
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.87                                                                                                                                      $1.00
Leslie WM Adams & Associates                             Last 4 digits of account number       7    0    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3700 Buffalo Speedway #420
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77098
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.88                                                                                                                               $615,000.00
Loan Rangers Capital Investments, LLC                    Last 4 digits of account number       W    O    O    D
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2235 E. 6th St. #103
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78702
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 32
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 51 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.89                                                                                                                               $142,000.00
Loan Rangers Capital Investments, LLC                    Last 4 digits of account number       O    L     I   A
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2235 E. 6th St. #103
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78702
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.90                                                                                                                               $144,000.00
Loan Rangers Capital Investments, LLC                    Last 4 digits of account number       E    R    T    S
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2235 E. 6th St. #103
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78702
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.91                                                                                                                               $158,000.00
Loan Rangers Capital Investments, LLC                    Last 4 digits of account number       I    R     I   E
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2235 E. 6th St. #103
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78702
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 33
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 52 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.92                                                                                                                               $144,000.00
Loan Rangers Capital Investments, LLC                    Last 4 digits of account number       T    A    V    E
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2235 E. 6th St. #103
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78702
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.93                                                                                                                               $144,000.00
Loan Rangers Capital Investments, LLC                    Last 4 digits of account number       T    A    V    E
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2235 E. 6th St. #103
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78702
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.94                                                                                                                               $142,500.00
Loan Rangers Capital Investments, LLC                    Last 4 digits of account number       E    R    T    S
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2235 E. 6th St. #103
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78702
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 34
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 53 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.95                                                                                                                               $160,000.00
Loan Rangers Capital Investments, LLC                    Last 4 digits of account number       E    A    V    E
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2235 E. 6th St. #103
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78702
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.96                                                                                                                               $275,000.00
Loan Rangers Capital Investments, LLC                    Last 4 digits of account number       S    A    V    E
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2235 E. 6th St. #103
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78702
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.97                                                                                                                               $275,000.00
Loan Rangers Capital Investments, LLC                    Last 4 digits of account number       S    A    V    E
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2235 E. 6th St. #103
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78702
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 35
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 54 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.98                                                                                                                               $275,000.00
Loan Rangers Capital Investments, LLC                    Last 4 digits of account number       R    O    O    K
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2235 E. 6th St. #103
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78702
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.99                                                                                                                                $15,000.00
Lost Runner 401K                                         Last 4 digits of account number       L    V     I   N
Nonpriority Creditor's Name
                                                         When was the debt incurred?
609 White Oak St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Allen                         TX      75002
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.100                                                                                                                                  $1,204.00
Lowes                                                    Last 4 digits of account number       5    5    3    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 530914
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Atlanta                       GA      30353
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 36
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 55 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.101                                                                                                                                $98,000.00
Mary Frosto                                              Last 4 digits of account number       L    O    T    S
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4625 Pinon St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Flower Mound                  TX      75028
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.102                                                                                                                               $104,750.00
Mary Frosto                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4625 Pinon Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Flower Mound                  TX      75028
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.103                                                                                                                                    $102.00
Mercury/FBT                                              Last 4 digits of account number      5 8        9    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2016
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 84064                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      GA      31908
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Current Account


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 37
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 56 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.104                                                                                                                                    $820.00
Merrick Bank/CardWorks                                   Last 4 digits of account number      3 3        2    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2017
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 9201                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Old Bethpage                  NY      11804
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Current Account
DISPUTE RESOLVED-CONSUMER DISAGREES
ACCOUNT IN DISPUTE
 4.105                                                                                                                               $150,000.00
National Multicultural Heritage Museum                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
FKA NCOFCMH, TX Non-Profit
Number        Street                                     As of the date you file, the claim is: Check all that apply.
2041 Scott Ave #100                                          Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76103
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 38
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 57 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.106                                                                                                                                $52,000.00
Nebraska Furniture Co                                    Last 4 digits of account number       8    7    2    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5600 Nebraska Furn Mart Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
The Colony                    TX      75056
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.107                                                                                                                                    $214.26
North Texas Tollway                                      Last 4 digits of account number       3    2    9    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 660244
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.108                                                                                                                                    $305.00
North Texas Tollway                                      Last 4 digits of account number       5    6    5    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 660244
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 39
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 58 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.109                                                                                                                                    $230.08
North Texas Tollway                                      Last 4 digits of account number       2    4    3    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 660244
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.110                                                                                                                                     $77.21
North Texas Tollway                                      Last 4 digits of account number       2    8    5    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 660244
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.111                                                                                                                                    $950.00
Oakcliff Offie Products                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1876 Lone Star Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75212
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 40
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 59 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.112                                                                                                                                $29,000.00
Pacific Coast Supply                                     Last 4 digits of account number       0    3    0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4290 Roseville Rd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
North Highlands               CA      95660-5170
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Abstract Judgment
Is the claim subject to offset?
     No
     Yes

 4.113                                                                                                                                $16,500.00
Pearl Capital/Peral Delta Funding LLC                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
80 State Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Albany                        NY      12207
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.114                                                                                                                               $150,000.00
Pinnacle Bank Texas                                      Last 4 digits of account number       R    N    O    N
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Jim Austin
Number        Street                                     As of the date you file, the claim is: Check all that apply.
6750 Bridge St.                                              Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76112
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 41
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 60 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.115                                                                                                                               $105,750.00
Planet Home Lending                                      Last 4 digits of account number       D    R    E    W
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 1001
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Meriden                       CT      06450
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.116                                                                                                                                $95,000.00
PMR Home Concepts, LLC                                   Last 4 digits of account number       Y    A    V    E
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/0 Ronald MIntosh
Number        Street                                     As of the date you file, the claim is: Check all that apply.
7205 Cloverglen Dr.                                          Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75249
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.117                                                                                                                                $45,000.00
Projects & PLans DFW LLC                                 Last 4 digits of account number       8    2    0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
341 W. Jefferson #750
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75208
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 42
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 61 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.118                                                                                                                                      $1.00
Projects & Plans FW LLC                                  Last 4 digits of account number       8    2    0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
351 W. Jefferson
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75208
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.119                                                                                                                                $15,000.00
Quest IRA Inc                                            Last 4 digits of account number       L    V     I   N
Nonpriority Creditor's Name
                                                         When was the debt incurred?
FBO Alvin McCathen IRA#1584611
Number        Street                                     As of the date you file, the claim is: Check all that apply.
17171 Park Row, #100                                         Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77084
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.120                                                                                                                               $105,000.00
Quest IRA, Inc FBO Ronald McIntosh IRA                   Last 4 digits of account number       Y    A    V    E
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Robert McIntosh
Number        Street                                     As of the date you file, the claim is: Check all that apply.
7205 Cloverglen Dr.                                          Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75249
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 43
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 62 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.121                                                                                                                               $100,000.00
Quest Trust Co                                           Last 4 digits of account number       L    A    N    E
Nonpriority Creditor's Name
                                                         When was the debt incurred?
FBO DAvid Mudd IRA 33381021
Number        Street                                     As of the date you file, the claim is: Check all that apply.
17171 Park Row #100                                          Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77084
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.122                                                                                                                               $100,000.00
Quest Trust Co                                           Last 4 digits of account number       R    A     I   L
Nonpriority Creditor's Name
                                                         When was the debt incurred?
FBO avid Mudd IRA #3381021
Number        Street                                     As of the date you file, the claim is: Check all that apply.
17171 Park Row #100                                          Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77084
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.123                                                                                                                                  $5,000.00
Quest Trust Co                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
FBO Martha Sapien IRA #3236221
Number        Street                                     As of the date you file, the claim is: Check all that apply.
17171 Park Row #100                                          Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77084
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 44
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 63 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.124                                                                                                                               $175,000.00
Quest Trust Co FBO Susan Graham                          Last 4 digits of account number       R    A     I   L
Nonpriority Creditor's Name
                                                         When was the debt incurred?
IRA361811
Number        Street                                     As of the date you file, the claim is: Check all that apply.
17171 Park Row #100                                          Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77084
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.125                                                                                                                               $435,050.00
Quest Trust Co FBO Susan Graham                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Roth IRA 3361811 Individual Trust
Number        Street                                     As of the date you file, the claim is: Check all that apply.
17171 Park Row #100                                          Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77084
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.126                                                                                                                               $600,000.00
Quest Trust Company                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
FBO Susan Graham
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Roth IRA 3361821 Individual Trust                            Contingent
902 Melissa Lane                                             Unliquidated
                                                             Disputed
Garland                       TX      75040
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 45
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 64 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.127                                                                                                                                  $8,950.00
Quest Trust Company FBO SUsan Graham                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
HSA 3361871 Individual Trust
Number        Street                                     As of the date you file, the claim is: Check all that apply.
17171 Park Row #100                                          Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77084
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.128                                                                                                                                  $5,000.00
Quest Truste Co                                          Last 4 digits of account number       A     I   L    S
Nonpriority Creditor's Name
                                                         When was the debt incurred?
FBO Martha Sapien IRA#3236221
Number        Street                                     As of the date you file, the claim is: Check all that apply.
17171 Park Row #10                                           Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77084
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.129                                                                                                                                $89,618.00
R.E. Sweeney Company Inc                                 Last 4 digits of account number       3    1    3    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3700 Noble Ave
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 1921                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76101
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 46
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 65 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.130                                                                                                                                $29,000.00
R.E. Sweeny Lumber Co                                    Last 4 digits of account number       3    1    3    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Pamela Ashcraft Tucker et al
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1702 N. Collins #100                                         Contingent
                                                             Unliquidated
                                                             Disputed
Richardson                    TX      75080
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.131                                                                                                                                $47,114.00
Regions Bank                                             Last 4 digits of account number       2    0    4    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 11007
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Birmingham                    AL      35288
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes
auto repo'd 3/7/2021

 4.132                                                                                                                                $35,000.00
Resdoor Co Div of R.E. Sweeny Lumber                     Last 4 digits of account number       3    1    3    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3700 Noble Ave
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76101
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes



Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 47
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 66 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.133                                                                                                                                $35,000.00
Robert Eden Attorney at Law                              Last 4 digits of account number       0    3    0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Matews & Beanland LLP
Number        Street                                     As of the date you file, the claim is: Check all that apply.
8131 LBJ Freeway #700                                        Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75251
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.134                                                                                                                                $65,000.00
Robert Half & Associates                                 Last 4 digits of account number       2    4    1    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
14951 N. Dallas Pkwy #350
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75254
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.135                                                                                                                                $39,620.63
Robert Half Int'l dba Account Temps                      Last 4 digits of account number       0    1    6    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Jameson and Dunagan PC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5429 LBJ Freeway #700                                        Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75240
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Abstract Judgment
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 48
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 67 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.136                                                                                                                                $29,636.00
Sage Software                                            Last 4 digits of account number       6    8    8    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
300 Park Ave #1400
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Jose                      CA      95110
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.137                                                                                                                                $52,000.00
Sharon Sjostrom Attorney                                 Last 4 digits of account number       5    6    1    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Nebraska Furniture Co
Number        Street                                     As of the date you file, the claim is: Check all that apply.
4851 LBJ Freeway #700                                        Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75244
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.138                                                                                                                                $22,897.00
Sherwin Williams                                         Last 4 digits of account number       1    3    4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
913 Melbourne Rd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Hurst                         TX      76053-4632
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Abstract Judgment
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 49
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 68 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.139                                                                                                                                  $9,384.00
SST/Medallion                                            Last 4 digits of account number       0    0    4    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4315 Pickett Rd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Joseph                  MO      64503
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.140                                                                                                                                $40,000.00
Stantec Consulting Serv Inc.                             Last 4 digits of account number       9    0    3    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
12222 Merit Dr. #400
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75251
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.141                                                                                                                                  $1,598.00
State Farm Insurance                                     Last 4 digits of account number       1    8    8    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1620 Dodge St.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68197
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 50
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 69 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.142                                                                                                                                  $2,286.00
State Farm Insurance                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 680001
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75270
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.143                                                                                                                                  $1,300.00
State Farm Insurance                                     Last 4 digits of account number       6    8    0    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 853925
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Richardson                    TX      75085
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.144                                                                                                                                  $1,399.20
State Fram Inssurance                                    Last 4 digits of account number       4    4    9    R
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3330 Matlock Rd #125
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76015
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 51
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 70 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.145                                                                                                                                $10,000.00
Stream Energy                                            Last 4 digits of account number       1    1    7    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 650026
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75265
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.146                                                                                                                               $300,000.00
Susan Graham                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
902 Melissa Lane
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Garland                       TX      75040
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.147                                                                                                                                    $557.00
Synchrony Bank/Amazon                                    Last 4 digits of account number      0 2        1    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/2019
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes
Charge Off for $557 on 06/21


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 52
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 71 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.148                                                                                                                                    $984.00
Synchrony Bank/Lowes                                     Last 4 digits of account number      5 5        3    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2019
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes
Charge Off for $984 on 05/21

 4.149                                                                                                                                  $1,306.00
Synchrony/PayPal Credit                                  Last 4 digits of account number       6    4    6    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2019
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Charge Off for $1306 on 05/21

 4.150                                                                                                                                    $354.46
Texas Pulmonary Consultants                              Last 4 digits of account number       0    4    1    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 612344
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75261
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 53
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 72 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.151                                                                                                                                  Unknown
Texas Trust CU                                           Last 4 digits of account number       3    9    4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
500 W 7th Street #600
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76102
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Abstract Judgment
Is the claim subject to offset?
     No
     Yes

 4.152                                                                                                                               $156,000.00
Texas Trust CU Office Lease                              Last 4 digits of account number       3    9    4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o SVN Trinity Advisors
Number        Street                                     As of the date you file, the claim is: Check all that apply.
3000 Race Street #100                                        Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76111
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Abstract Judgment
Is the claim subject to offset?
     No
     Yes

 4.153                                                                                                                                $15,000.00
Tri-Steel LLC                                            Last 4 digits of account number       0    0    1    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5709 Jacksboro Highway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76114
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 54
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 73 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.154                                                                                                                                $15,000.00
Turn-Key Development LLC                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4101 W. Green Oaks Blvd. #305-226
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76016
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.155                                                                                                                                  $1,587.00
TX Tags                                                  Last 4 digits of account number       4    9    6    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 650749
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75265
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.156                                                                                                                                $10,732.26
TX Tags                                                  Last 4 digits of account number       2    3    6    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 650749
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75265
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 55
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 74 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.157                                                                                                                                     $55.67
Tx Tags                                                  Last 4 digits of account number       6    6    1    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 640749
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75265
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.158                                                                                                                                $30,000.00
Unique Funding Solutions LLC                             Last 4 digits of account number       2    0    1    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2715 Coney Island Ave
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Brooklyn                      NY      11235
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 56
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 75 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.159                                                                                                                                  $1,100.00
United Revenue Corp.                                     Last 4 digits of account number      5 3        4    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2019
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
204 Billings Street Ste 120                                  Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting For - TEXAS PHYSICIAN RESOURCES
Is the claim subject to offset?
     No
     Yes
Original Creditor Name: TEXAS PHYSICIAN RESOURCES
Collection
Account Closed
 4.160                                                                                                                                $26,598.00
Urban Design Partners LLC                                Last 4 digits of account number       0    0    1    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Ken Schumburg
Number        Street                                     As of the date you file, the claim is: Check all that apply.
8430 Blue Heron Ct.                                          Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76108
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 57
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 76 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.161                                                                                                                               $175,000.00
Vaughn & Ramsey Attorney                                 Last 4 digits of account number       0    2    9    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2000 E> Lamar Blvd. #400
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76006
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.162                                                                                                                               $300,000.00
Vaughn & Ramsey Attorney                                 Last 4 digits of account number       0    3    9    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2000 E. Lamar Blvd. #400
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76006
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.163                                                                                                                               $115,000.00
Velocity Commercial Capital LLC                          Last 4 digits of account number       R     I   O    N
Nonpriority Creditor's Name
                                                         When was the debt incurred?
30699 Russell Ranch Rd. #295
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Westlake Village              CA      91362
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 58
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 77 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.164                                                                                                                               $105,750.00
Velocity Commercial Capital LLC                          Last 4 digits of account number       D    R    E    W
Nonpriority Creditor's Name
                                                         When was the debt incurred?
30699 Russell Ranch Rd. #295
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Westlake Village              CA      91362
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.165                                                                                                                               $330,000.00
Velocity Commercial Capital LLC                          Last 4 digits of account number       I    N    D    R
Nonpriority Creditor's Name
                                                         When was the debt incurred?
30699 Russell Ranch Rd. #295
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Westlake Village              CA      91362
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.166                                                                                                                                $12,000.00
Viola & Associates                                       Last 4 digits of account number       R    A     I   L
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO BOx 2868
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
North Richland Hills          TX      76180
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 59
        Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                       Page 78 of 114


Debtor 1       James Varga                                                                 Case number (if known)       21-41656-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.167                                                                                                                                $12,000.00
Warrior Dumpster                                         Last 4 digits of account number       1    5    6    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
10127 Wildhorsa Pkwy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Antonio                   TX      78254
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

 4.168                                                                                                                                      $1.00
Wendy Burgess Tarrant County Tax Assesso Last 4 digits of account number                       5    3    1    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
100 E Weatherford
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76196
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 60
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                                 Entered 08/04/21 17:53:30                     Page 79 of 114


Debtor 1       James Varga                                                                Case number (if known)     21-41656-7

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


First Premier                                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
601 S> Minnesota                                            Line   4.60 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Sioux Falls                     SD      57104
City                            State   ZIP Code


J Javier Anziani                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Freedman & Price PC                                         Line   4.12 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Austin                          TX      78701
City                            State   ZIP Code


Matthew Taplett                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Pope Hardwicke Christie et al                               Line 4.152 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number       Street
500 W i7th Street $600                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       3    9    4    2
Fort Worth                      TX      76102
City                            State   ZIP Code


Michael Bernstein                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
416 S Third Street                                          Line 4.135 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Garland                         TX      75040-6426
City                            State   ZIP Code


Randall Adair                                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
325 N. St Paul Street $1400                                 Line 4.138 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       1    3    4    2
Dallas                          TX      75201
City                            State   ZIP Code


Robert Florance IV                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
500 WWW 7th Street #600                                     Line 4.151 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Fort Worth                      TX      76102
City                            State   ZIP Code



Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 61
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                        Entered 08/04/21 17:53:30                     Page 80 of 114


Debtor 1     James Varga                                                         Case number (if known)     21-41656-7

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Sharon Sjostrom Attorney                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Nebraska Furniture Company                          Line 4.106 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
4851 LBJ Freeway #700                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number      5    6    1    2
Dallas                     TX      75244
City                       State   ZIP Code




Official Form 106E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                         page 62
     Case 21-41656-elm7 Doc 17 Filed 08/04/21                                Entered 08/04/21 17:53:30                         Page 81 of 114


Debtor 1       James Varga                                                             Case number (if known)        21-41656-7

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +    $13,633,374.74


                  6j.   Total.   Add lines 6f through 6i.                                            6j.        $13,633,374.74




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                        page 63
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                                   Entered 08/04/21 17:53:30                      Page 82 of 114


 Fill in this information to identify your case:
 Debtor 1             James                                        Varga
                      First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number          21-41656-7
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      Toyota Financial Services                                                    Lease
          Name                                                                         Current Account
          Attn: Bankruptcy
          Number    Street                                                             2020 Rav 4
          PO Box 8026                                                                  Contract to be ASSUMED

          Cedar Rapids                                 IA        52409
          City                                         State     ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
      Case 21-41656-elm7 Doc 17 Filed 08/04/21                                             Entered 08/04/21 17:53:30                   Page 83 of 114


 Fill in this information to identify your case:
 Debtor 1              James                                              Varga
                       First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name                 Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number           21-41656-7
                                                                                                                            Check if this is an
 (if known)
                                                                                                                            amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
                In which community state or territory did you live?                   Texas      Fill in the name and current address of that person.

                Bridget Varga
                Name of your spouse, former spouse, or legal equivalent
                4215 Southcrest Dr.
                Number          Street


                Arlington                                       TX              76013
                City                                            State           ZIP Code

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                  Check all schedules that apply:

3.1      Spouse Name Not Entered
         Name                                                                                          Schedule D, line

                                                                                                       Schedule E/F, line        4.1
         Number        Street
                                                                                                       Schedule G, line
                                                                                                  5828 Cubesmart TX FW Rosedale St
         City                                           State             ZIP Code




Official Form 106H                                               Schedule H: Your Codebtors                                                             page 1
      Case 21-41656-elm7 Doc 17 Filed 08/04/21                   Entered 08/04/21 17:53:30                     Page 84 of 114


Debtor 1      James Varga                                                Case number (if known)       21-41656-7

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.2    Spouse Name Not Entered
       Name                                                                      Schedule D, line

                                                                                 Schedule E/F, line      4.2
       Number        Street
                                                                                 Schedule G, line
                                                                             Acumatica The Cloud ERP
       City                             State       ZIP Code


3.3    Spouse Name Not Entered
       Name                                                                      Schedule D, line

                                                                                 Schedule E/F, line      4.3
       Number        Street
                                                                                 Schedule G, line
                                                                             Affirm, Inc.
       City                             State       ZIP Code


3.4    Spouse Name Not Entered
       Name                                                                      Schedule D, line

                                                                                 Schedule E/F, line      4.4
       Number        Street
                                                                                 Schedule G, line
                                                                             Albert 360
       City                             State       ZIP Code


3.5    Spouse Name Not Entered
       Name                                                                      Schedule D, line

                                                                                 Schedule E/F, line      4.5
       Number        Street
                                                                                 Schedule G, line
                                                                             American Express
       City                             State       ZIP Code


3.6    Spouse Name Not Entered
       Name                                                                      Schedule D, line

                                                                                 Schedule E/F, line      4.6
       Number        Street
                                                                                 Schedule G, line
                                                                             American Express
       City                             State       ZIP Code


3.7    Spouse Name Not Entered
       Name                                                                      Schedule D, line

                                                                                 Schedule E/F, line      4.7
       Number        Street
                                                                                 Schedule G, line
                                                                             Angel Jaramillo
       City                             State       ZIP Code


3.8    Spouse Name Not Entered
       Name                                                                      Schedule D, line

                                                                                 Schedule E/F, line       1
       Number        Street
                                                                                 Schedule G, line
                                                                             Arthur E. Anthony
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                              page 2
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                   Entered 08/04/21 17:53:30                     Page 85 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.9     Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line      4.8
        Number       Street
                                                                                  Schedule G, line
                                                                              AT&T Wireless
        City                             State       ZIP Code


3.10    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line      4.9
        Number       Street
                                                                                  Schedule G, line
                                                                              Attorney of Law
        City                             State       ZIP Code


3.11    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.10
        Number       Street
                                                                                  Schedule G, line
                                                                              Balboa Capital Corp
        City                             State       ZIP Code


3.12    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.11
        Number       Street
                                                                                  Schedule G, line
                                                                              Baloba Capital
        City                             State       ZIP Code


3.13    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.12
        Number       Street
                                                                                  Schedule G, line
                                                                              Beacon Sales Acquisition Inc
        City                             State       ZIP Code


3.14    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.13
        Number       Street
                                                                                  Schedule G, line
                                                                              Beacon Supply Acqusition Inc.
        City                             State       ZIP Code


3.15    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.14
        Number       Street
                                                                                  Schedule G, line
                                                                              Bill Blankenship Contracting Inc
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                              page 3
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                   Entered 08/04/21 17:53:30                     Page 86 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.16    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.15
        Number       Street
                                                                                  Schedule G, line
                                                                              Boa Credit Card
        City                             State       ZIP Code


3.17    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.16
        Number       Street
                                                                                  Schedule G, line
                                                                              Boa Credit Card
        City                             State       ZIP Code


3.18    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.17
        Number       Street
                                                                                  Schedule G, line
                                                                              Brian Smith Attorney
        City                             State       ZIP Code


3.19    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.18
        Number       Street
                                                                                  Schedule G, line
                                                                              Capital One
        City                             State       ZIP Code


3.20    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.19
        Number       Street
                                                                                  Schedule G, line
                                                                              Capstone Capital Partners, LLC
        City                             State       ZIP Code


3.21    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.20
        Number       Street
                                                                                  Schedule G, line
                                                                              Capstone Capital Partners, LLC
        City                             State       ZIP Code


3.22    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.21
        Number       Street
                                                                                  Schedule G, line
                                                                              Capstone Capital Partners, LLC
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                              page 4
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                   Entered 08/04/21 17:53:30                     Page 87 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.23    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.22
        Number       Street
                                                                                  Schedule G, line
                                                                              Capstone Fund LLC
        City                             State       ZIP Code


3.24    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.23
        Number       Street
                                                                                  Schedule G, line
                                                                              Capstone Fund LLC
        City                             State       ZIP Code


3.25    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.24
        Number       Street
                                                                                  Schedule G, line
                                                                              Capstone Fund, LLC
        City                             State       ZIP Code


3.26    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.25
        Number       Street
                                                                                  Schedule G, line
                                                                              Capstone Fund, LLC
        City                             State       ZIP Code


3.27    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.26
        Number       Street
                                                                                  Schedule G, line
                                                                              Capstone Lending Trust
        City                             State       ZIP Code


3.28    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.27
        Number       Street
                                                                                  Schedule G, line
                                                                              Chase Credit Card
        City                             State       ZIP Code


3.29    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.28
        Number       Street
                                                                                  Schedule G, line
                                                                              Chase Credit Card
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                              page 5
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                   Entered 08/04/21 17:53:30                     Page 88 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.30    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.29
        Number       Street
                                                                                  Schedule G, line
                                                                              Citibank NA, A Federal Natl Assoc
        City                             State       ZIP Code


3.31    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.30
        Number       Street
                                                                                  Schedule G, line
                                                                              City of Fort Worth
        City                             State       ZIP Code


3.32    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.31
        Number       Street
                                                                                  Schedule G, line
                                                                              City of FW
        City                             State       ZIP Code


3.33    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.32
        Number       Street
                                                                                  Schedule G, line
                                                                              Cloyd Investments
        City                             State       ZIP Code


3.34    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.33
        Number       Street
                                                                                  Schedule G, line
                                                                              Cloyd Investments
        City                             State       ZIP Code


3.35    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.34
        Number       Street
                                                                                  Schedule G, line
                                                                              Cowtown Redi Mix Concrete
        City                             State       ZIP Code


3.36    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.35
        Number       Street
                                                                                  Schedule G, line
                                                                              Credit One Bank
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                              page 6
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                   Entered 08/04/21 17:53:30                     Page 89 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.37    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.36
        Number       Street
                                                                                  Schedule G, line
                                                                              Credit One Bank
        City                             State       ZIP Code


3.38    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.37
        Number       Street
                                                                                  Schedule G, line
                                                                              Credit One Bank
        City                             State       ZIP Code


3.39    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.38
        Number       Street
                                                                                  Schedule G, line
                                                                              Credit One Bank
        City                             State       ZIP Code


3.40    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.39
        Number       Street
                                                                                  Schedule G, line
                                                                              Credit Systems International, Inc
        City                             State       ZIP Code


3.41    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.40
        Number       Street
                                                                                  Schedule G, line
                                                                              CTG Tech LLC
        City                             State       ZIP Code


3.42    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.41
        Number       Street
                                                                                  Schedule G, line
                                                                              Cytracom
        City                             State       ZIP Code


3.43    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.42
        Number       Street
                                                                                  Schedule G, line
                                                                              Davide Mudd
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                              page 7
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                   Entered 08/04/21 17:53:30                     Page 90 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.44    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.43
        Number       Street
                                                                                  Schedule G, line
                                                                              Delange Landen Financial Serv LLC
        City                             State       ZIP Code


3.45    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.44
        Number       Street
                                                                                  Schedule G, line
                                                                              DFW Office Systems
        City                             State       ZIP Code


3.46    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.45
        Number       Street
                                                                                  Schedule G, line
                                                                              DHLC Mortgage, LLC
        City                             State       ZIP Code


3.47    Spouse Name Not Entered
        Name                                                                      Schedule D, line      2.1
                                                                                  Schedule E/F, line
        Number       Street
                                                                                  Schedule G, line
                                                                              Direct Capital Div of Citibank NA
        City                             State       ZIP Code


3.48    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.46
        Number       Street
                                                                                  Schedule G, line
                                                                              Dirt-Tech Constructino & Excavation
        City                             State       ZIP Code


3.49    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line       2
        Number       Street
                                                                                  Schedule G, line
                                                                              EBSHarley Davidson R
        City                             State       ZIP Code


3.50    Spouse Name Not Entered
        Name                                                                      Schedule D, line      2.2
                                                                                  Schedule E/F, line
        Number       Street
                                                                                  Schedule G, line
                                                                              Emvlp Llc/fis
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                              page 8
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                   Entered 08/04/21 17:53:30                     Page 91 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.51    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.47
        Number       Street
                                                                                  Schedule G, line
                                                                              Equity Trust Co Custodian FBO
        City                             State       ZIP Code


3.52    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.48
        Number       Street
                                                                                  Schedule G, line
                                                                              Equity Trust Company
        City                             State       ZIP Code


3.53    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.49
        Number       Street
                                                                                  Schedule G, line
                                                                              Equity Trust Company Custodian
        City                             State       ZIP Code


3.54    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.50
        Number       Street
                                                                                  Schedule G, line
                                                                              Equity Trust Company FBO
        City                             State       ZIP Code


3.55    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.51
        Number       Street
                                                                                  Schedule G, line
                                                                              Equityi Trust Co Custodian
        City                             State       ZIP Code


3.56    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.52
        Number       Street
                                                                                  Schedule G, line
                                                                              Everest Business Funding
        City                             State       ZIP Code


3.57    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.53
        Number       Street
                                                                                  Schedule G, line
                                                                              Exact Land Durvey
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                              page 9
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                   Entered 08/04/21 17:53:30                     Page 92 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.58    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.54
        Number       Street
                                                                                  Schedule G, line
                                                                              FA-Lending USA
        City                             State       ZIP Code


3.59    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.55
        Number       Street
                                                                                  Schedule G, line
                                                                              First Bank Card
        City                             State       ZIP Code


3.60    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.56
        Number       Street
                                                                                  Schedule G, line
                                                                              First Bankcard
        City                             State       ZIP Code


3.61    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.57
        Number       Street
                                                                                  Schedule G, line
                                                                              First Funding GB LLC
        City                             State       ZIP Code


3.62    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.58
        Number       Street
                                                                                  Schedule G, line
                                                                              First National Bank
        City                             State       ZIP Code


3.63    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line      5.1
        Number       Street
                                                                                  Schedule G, line
                                                                              First Premier
        City                             State       ZIP Code


3.64    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.59
        Number       Street
                                                                                  Schedule G, line
                                                                              First Premier Bank
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 10
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                   Entered 08/04/21 17:53:30                     Page 93 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.65    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.60
        Number       Street
                                                                                  Schedule G, line
                                                                              First Premier Bank
        City                             State       ZIP Code


3.66    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.61
        Number       Street
                                                                                  Schedule G, line
                                                                              Fort Worth Community C
        City                             State       ZIP Code


3.67    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.62
        Number       Street
                                                                                  Schedule G, line
                                                                              Fort Worth Community C
        City                             State       ZIP Code


3.68    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.63
        Number       Street
                                                                                  Schedule G, line
                                                                              Fund Box Loans
        City                             State       ZIP Code


3.69    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.64
        Number       Street
                                                                                  Schedule G, line
                                                                              FW Community CU
        City                             State       ZIP Code


3.70    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.65
        Number       Street
                                                                                  Schedule G, line
                                                                              FW Community CU
        City                             State       ZIP Code


3.71    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.66
        Number       Street
                                                                                  Schedule G, line
                                                                              GCTK Merritt LLC
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 11
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                   Entered 08/04/21 17:53:30                     Page 94 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.72    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.67
        Number       Street
                                                                                  Schedule G, line
                                                                              GCTK Merritt LLC
        City                             State       ZIP Code


3.73    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.68
        Number       Street
                                                                                  Schedule G, line
                                                                              Global Realty Management TX Inc
        City                             State       ZIP Code


3.74    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.69
        Number       Street
                                                                                  Schedule G, line
                                                                              Handsome Web LLC
        City                             State       ZIP Code


3.75    Spouse Name Not Entered
        Name                                                                      Schedule D, line      2.3
                                                                                  Schedule E/F, line
        Number       Street
                                                                                  Schedule G, line
                                                                              Harley Davidson Financial
        City                             State       ZIP Code


3.76    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.70
        Number       Street
                                                                                  Schedule G, line
                                                                              Hawaiian Airlines Master Credit Card
        City                             State       ZIP Code


3.77    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.71
        Number       Street
                                                                                  Schedule G, line
                                                                              Hawaiian Airlines Master Credit Card
        City                             State       ZIP Code


3.78    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.72
        Number       Street
                                                                                  Schedule G, line
                                                                              Internal Revenue Service
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 12
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                   Entered 08/04/21 17:53:30                     Page 95 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.79    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.73
        Number       Street
                                                                                  Schedule G, line
                                                                              Internal Revenue Service
        City                             State       ZIP Code


3.80    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.74
        Number       Street
                                                                                  Schedule G, line
                                                                              Internal Revenue Service
        City                             State       ZIP Code


3.81    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.75
        Number       Street
                                                                                  Schedule G, line
                                                                              Investment Colleagues LLC
        City                             State       ZIP Code


3.82    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line      5.2
        Number       Street
                                                                                  Schedule G, line
                                                                              J Javier Anziani
        City                             State       ZIP Code


3.83    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.76
        Number       Street
                                                                                  Schedule G, line
                                                                              Jack Roomigh Aia
        City                             State       ZIP Code


3.84    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.77
        Number       Street
                                                                                  Schedule G, line
                                                                              JC Taylor Contracting Inc.
        City                             State       ZIP Code


3.85    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.78
        Number       Street
                                                                                  Schedule G, line
                                                                              Jennifer Rymell County Court Law #2
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 13
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                   Entered 08/04/21 17:53:30                     Page 96 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.86    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.79
        Number       Street
                                                                                  Schedule G, line
                                                                              John Nation
        City                             State       ZIP Code


3.87    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.80
        Number       Street
                                                                                  Schedule G, line
                                                                              Jones Kimball law Firm PC
        City                             State       ZIP Code


3.88    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.81
        Number       Street
                                                                                  Schedule G, line
                                                                              Kabbage Funding
        City                             State       ZIP Code


3.89    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.82
        Number       Street
                                                                                  Schedule G, line
                                                                              KC Capital Partners LLC
        City                             State       ZIP Code


3.90    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.83
        Number       Street
                                                                                  Schedule G, line
                                                                              KC Capital Partners LLC
        City                             State       ZIP Code


3.91    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.84
        Number       Street
                                                                                  Schedule G, line
                                                                              KR Enterprises LLC
        City                             State       ZIP Code


3.92    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.85
        Number       Street
                                                                                  Schedule G, line
                                                                              LendingUSA
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 14
       Case 21-41656-elm7 Doc 17 Filed 08/04/21                   Entered 08/04/21 17:53:30                     Page 97 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.93    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.86
        Number       Street
                                                                                  Schedule G, line
                                                                              Leon Munson Consulting Contractor
        City                             State       ZIP Code


3.94    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.87
        Number       Street
                                                                                  Schedule G, line
                                                                              Leslie WM Adams & Associates
        City                             State       ZIP Code


3.95    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.88
        Number       Street
                                                                                  Schedule G, line
                                                                              Loan Rangers Capital Investments, LLC
        City                             State       ZIP Code


3.96    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.89
        Number       Street
                                                                                  Schedule G, line
                                                                              Loan Rangers Capital Investments, LLC
        City                             State       ZIP Code


3.97    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.90
        Number       Street
                                                                                  Schedule G, line
                                                                              Loan Rangers Capital Investments, LLC
        City                             State       ZIP Code


3.98    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.91
        Number       Street
                                                                                  Schedule G, line
                                                                              Loan Rangers Capital Investments, LLC
        City                             State       ZIP Code


3.99    Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.92
        Number       Street
                                                                                  Schedule G, line
                                                                              Loan Rangers Capital Investments, LLC
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 15
     Case 21-41656-elm7 Doc 17 Filed 08/04/21                     Entered 08/04/21 17:53:30                     Page 98 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.100   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.93
        Number       Street
                                                                                  Schedule G, line
                                                                              Loan Rangers Capital Investments, LLC
        City                             State       ZIP Code


3.101   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.94
        Number       Street
                                                                                  Schedule G, line
                                                                              Loan Rangers Capital Investments, LLC
        City                             State       ZIP Code


3.102   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.95
        Number       Street
                                                                                  Schedule G, line
                                                                              Loan Rangers Capital Investments, LLC
        City                             State       ZIP Code


3.103   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.96
        Number       Street
                                                                                  Schedule G, line
                                                                              Loan Rangers Capital Investments, LLC
        City                             State       ZIP Code


3.104   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.97
        Number       Street
                                                                                  Schedule G, line
                                                                              Loan Rangers Capital Investments, LLC
        City                             State       ZIP Code


3.105   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.98
        Number       Street
                                                                                  Schedule G, line
                                                                              Loan Rangers Capital Investments, LLC
        City                             State       ZIP Code


3.106   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line     4.99
        Number       Street
                                                                                  Schedule G, line
                                                                              Lost Runner 401K
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 16
     Case 21-41656-elm7 Doc 17 Filed 08/04/21                     Entered 08/04/21 17:53:30                     Page 99 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.107   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.100
        Number       Street
                                                                                  Schedule G, line
                                                                              Lowes
        City                             State       ZIP Code


3.108   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.101
        Number       Street
                                                                                  Schedule G, line
                                                                              Mary Frosto
        City                             State       ZIP Code


3.109   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.102
        Number       Street
                                                                                  Schedule G, line
                                                                              Mary Frosto
        City                             State       ZIP Code


3.110   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line      5.3
        Number       Street
                                                                                  Schedule G, line
                                                                              Matthew Taplett
        City                             State       ZIP Code


3.111   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.103
        Number       Street
                                                                                  Schedule G, line
                                                                              Mercury/FBT
        City                             State       ZIP Code


3.112   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.104
        Number       Street
                                                                                  Schedule G, line
                                                                              Merrick Bank/CardWorks
        City                             State       ZIP Code


3.113   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line      5.4
        Number       Street
                                                                                  Schedule G, line
                                                                              Michael Bernstein
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 17
    Case 21-41656-elm7 Doc 17 Filed 08/04/21                     Entered 08/04/21 17:53:30                      Page 100 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.114   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.105
        Number       Street
                                                                                  Schedule G, line
                                                                              National Multicultural Heritage Museum
        City                             State       ZIP Code


3.115   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.106
        Number       Street
                                                                                  Schedule G, line
                                                                              Nebraska Furniture Co
        City                             State       ZIP Code


3.116   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.107
        Number       Street
                                                                                  Schedule G, line
                                                                              North Texas Tollway
        City                             State       ZIP Code


3.117   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.108
        Number       Street
                                                                                  Schedule G, line
                                                                              North Texas Tollway
        City                             State       ZIP Code


3.118   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.109
        Number       Street
                                                                                  Schedule G, line
                                                                              North Texas Tollway
        City                             State       ZIP Code


3.119   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.110
        Number       Street
                                                                                  Schedule G, line
                                                                              North Texas Tollway
        City                             State       ZIP Code


3.120   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.111
        Number       Street
                                                                                  Schedule G, line
                                                                              Oakcliff Offie Products
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 18
    Case 21-41656-elm7 Doc 17 Filed 08/04/21                     Entered 08/04/21 17:53:30                      Page 101 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.121   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.112
        Number       Street
                                                                                  Schedule G, line
                                                                              Pacific Coast Supply
        City                             State       ZIP Code


3.122   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.113
        Number       Street
                                                                                  Schedule G, line
                                                                              Pearl Capital/Peral Delta Funding LLC
        City                             State       ZIP Code


3.123   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.114
        Number       Street
                                                                                  Schedule G, line
                                                                              Pinnacle Bank Texas
        City                             State       ZIP Code


3.124   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.115
        Number       Street
                                                                                  Schedule G, line
                                                                              Planet Home Lending
        City                             State       ZIP Code


3.125   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.116
        Number       Street
                                                                                  Schedule G, line
                                                                              PMR Home Concepts, LLC
        City                             State       ZIP Code


3.126   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.117
        Number       Street
                                                                                  Schedule G, line
                                                                              Projects & PLans DFW LLC
        City                             State       ZIP Code


3.127   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.118
        Number       Street
                                                                                  Schedule G, line
                                                                              Projects & Plans FW LLC
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 19
    Case 21-41656-elm7 Doc 17 Filed 08/04/21                     Entered 08/04/21 17:53:30                      Page 102 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.128   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.119
        Number       Street
                                                                                  Schedule G, line
                                                                              Quest IRA Inc
        City                             State       ZIP Code


3.129   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.120
        Number       Street
                                                                                  Schedule G, line
                                                                              Quest IRA, Inc FBO Ronald McIntosh IRA
        City                             State       ZIP Code


3.130   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.121
        Number       Street
                                                                                  Schedule G, line
                                                                              Quest Trust Co
        City                             State       ZIP Code


3.131   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.122
        Number       Street
                                                                                  Schedule G, line
                                                                              Quest Trust Co
        City                             State       ZIP Code


3.132   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.123
        Number       Street
                                                                                  Schedule G, line
                                                                              Quest Trust Co
        City                             State       ZIP Code


3.133   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.124
        Number       Street
                                                                                  Schedule G, line
                                                                              Quest Trust Co FBO Susan Graham
        City                             State       ZIP Code


3.134   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.125
        Number       Street
                                                                                  Schedule G, line
                                                                              Quest Trust Co FBO Susan Graham
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 20
    Case 21-41656-elm7 Doc 17 Filed 08/04/21                     Entered 08/04/21 17:53:30                      Page 103 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.135   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.126
        Number       Street
                                                                                  Schedule G, line
                                                                              Quest Trust Company
        City                             State       ZIP Code


3.136   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.127
        Number       Street
                                                                                  Schedule G, line
                                                                              Quest Trust Company FBO SUsan Graham
        City                             State       ZIP Code


3.137   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.128
        Number       Street
                                                                                  Schedule G, line
                                                                              Quest Truste Co
        City                             State       ZIP Code


3.138   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.129
        Number       Street
                                                                                  Schedule G, line
                                                                              R.E. Sweeney Company Inc
        City                             State       ZIP Code


3.139   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.130
        Number       Street
                                                                                  Schedule G, line
                                                                              R.E. Sweeny Lumber Co
        City                             State       ZIP Code


3.140   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line      5.5
        Number       Street
                                                                                  Schedule G, line
                                                                              Randall Adair
        City                             State       ZIP Code


3.141   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.131
        Number       Street
                                                                                  Schedule G, line
                                                                              Regions Bank
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 21
    Case 21-41656-elm7 Doc 17 Filed 08/04/21                     Entered 08/04/21 17:53:30                      Page 104 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.142   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.132
        Number       Street
                                                                                  Schedule G, line
                                                                              Resdoor Co Div of R.E. Sweeny Lumber
        City                             State       ZIP Code


3.143   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.133
        Number       Street
                                                                                  Schedule G, line
                                                                              Robert Eden Attorney at Law
        City                             State       ZIP Code


3.144   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line      5.6
        Number       Street
                                                                                  Schedule G, line
                                                                              Robert Florance IV
        City                             State       ZIP Code


3.145   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.134
        Number       Street
                                                                                  Schedule G, line
                                                                              Robert Half & Associates
        City                             State       ZIP Code


3.146   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.135
        Number       Street
                                                                                  Schedule G, line
                                                                              Robert Half Int'l dba Account Temps
        City                             State       ZIP Code


3.147   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.136
        Number       Street
                                                                                  Schedule G, line
                                                                              Sage Software
        City                             State       ZIP Code


3.148   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line      5.7
        Number       Street
                                                                                  Schedule G, line
                                                                              Sharon Sjostrom Attorney
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 22
    Case 21-41656-elm7 Doc 17 Filed 08/04/21                     Entered 08/04/21 17:53:30                      Page 105 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.149   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.137
        Number       Street
                                                                                  Schedule G, line
                                                                              Sharon Sjostrom Attorney
        City                             State       ZIP Code


3.150   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.138
        Number       Street
                                                                                  Schedule G, line
                                                                              Sherwin Williams
        City                             State       ZIP Code


3.151   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.139
        Number       Street
                                                                                  Schedule G, line
                                                                              SST/Medallion
        City                             State       ZIP Code


3.152   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.140
        Number       Street
                                                                                  Schedule G, line
                                                                              Stantec Consulting Serv Inc.
        City                             State       ZIP Code


3.153   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.141
        Number       Street
                                                                                  Schedule G, line
                                                                              State Farm Insurance
        City                             State       ZIP Code


3.154   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.142
        Number       Street
                                                                                  Schedule G, line
                                                                              State Farm Insurance
        City                             State       ZIP Code


3.155   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.143
        Number       Street
                                                                                  Schedule G, line
                                                                              State Farm Insurance
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 23
    Case 21-41656-elm7 Doc 17 Filed 08/04/21                     Entered 08/04/21 17:53:30                      Page 106 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.156   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.144
        Number       Street
                                                                                  Schedule G, line
                                                                              State Fram Inssurance
        City                             State       ZIP Code


3.157   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.145
        Number       Street
                                                                                  Schedule G, line
                                                                              Stream Energy
        City                             State       ZIP Code


3.158   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.146
        Number       Street
                                                                                  Schedule G, line
                                                                              Susan Graham
        City                             State       ZIP Code


3.159   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.147
        Number       Street
                                                                                  Schedule G, line
                                                                              Synchrony Bank/Amazon
        City                             State       ZIP Code


3.160   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.148
        Number       Street
                                                                                  Schedule G, line
                                                                              Synchrony Bank/Lowes
        City                             State       ZIP Code


3.161   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.149
        Number       Street
                                                                                  Schedule G, line
                                                                              Synchrony/PayPal Credit
        City                             State       ZIP Code


3.162   Spouse Name Not Entered
        Name                                                                      Schedule D, line      2.4
                                                                                  Schedule E/F, line
        Number       Street
                                                                                  Schedule G, line
                                                                              Systems & Services Technologies, Inc.
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 24
    Case 21-41656-elm7 Doc 17 Filed 08/04/21                     Entered 08/04/21 17:53:30                      Page 107 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.163   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.150
        Number       Street
                                                                                  Schedule G, line
                                                                              Texas Pulmonary Consultants
        City                             State       ZIP Code


3.164   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.151
        Number       Street
                                                                                  Schedule G, line
                                                                              Texas Trust CU
        City                             State       ZIP Code


3.165   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.152
        Number       Street
                                                                                  Schedule G, line
                                                                              Texas Trust CU Office Lease
        City                             State       ZIP Code


3.166   Spouse Name Not Entered
        Name                                                                      Schedule D, line      2.5
                                                                                  Schedule E/F, line
        Number       Street
                                                                                  Schedule G, line
                                                                              Toyota Financial Services
        City                             State       ZIP Code


3.167   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.153
        Number       Street
                                                                                  Schedule G, line
                                                                              Tri-Steel LLC
        City                             State       ZIP Code


3.168   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.154
        Number       Street
                                                                                  Schedule G, line
                                                                              Turn-Key Development LLC
        City                             State       ZIP Code


3.169   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.155
        Number       Street
                                                                                  Schedule G, line
                                                                              TX Tags
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 25
    Case 21-41656-elm7 Doc 17 Filed 08/04/21                     Entered 08/04/21 17:53:30                      Page 108 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.170   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.156
        Number       Street
                                                                                  Schedule G, line
                                                                              TX Tags
        City                             State       ZIP Code


3.171   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.157
        Number       Street
                                                                                  Schedule G, line
                                                                              Tx Tags
        City                             State       ZIP Code


3.172   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.158
        Number       Street
                                                                                  Schedule G, line
                                                                              Unique Funding Solutions LLC
        City                             State       ZIP Code


3.173   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.159
        Number       Street
                                                                                  Schedule G, line
                                                                              United Revenue Corp.
        City                             State       ZIP Code


3.174   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.160
        Number       Street
                                                                                  Schedule G, line
                                                                              Urban Design Partners LLC
        City                             State       ZIP Code


3.175   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.161
        Number       Street
                                                                                  Schedule G, line
                                                                              Vaughn & Ramsey Attorney
        City                             State       ZIP Code


3.176   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.162
        Number       Street
                                                                                  Schedule G, line
                                                                              Vaughn & Ramsey Attorney
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 26
    Case 21-41656-elm7 Doc 17 Filed 08/04/21                     Entered 08/04/21 17:53:30                      Page 109 of 114


Debtor 1       James Varga                                                Case number (if known)       21-41656-7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.177   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.163
        Number       Street
                                                                                  Schedule G, line
                                                                              Velocity Commercial Capital LLC
        City                             State       ZIP Code


3.178   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.164
        Number       Street
                                                                                  Schedule G, line
                                                                              Velocity Commercial Capital LLC
        City                             State       ZIP Code


3.179   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.165
        Number       Street
                                                                                  Schedule G, line
                                                                              Velocity Commercial Capital LLC
        City                             State       ZIP Code


3.180   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.166
        Number       Street
                                                                                  Schedule G, line
                                                                              Viola & Associates
        City                             State       ZIP Code


3.181   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.167
        Number       Street
                                                                                  Schedule G, line
                                                                              Warrior Dumpster
        City                             State       ZIP Code


3.182   Spouse Name Not Entered
        Name                                                                      Schedule D, line      2.6
                                                                                  Schedule E/F, line
        Number       Street
                                                                                  Schedule G, line
                                                                              Wells Fargo
        City                             State       ZIP Code


3.183   Spouse Name Not Entered
        Name                                                                      Schedule D, line

                                                                                  Schedule E/F, line    4.168
        Number       Street
                                                                                  Schedule G, line
                                                                              Wendy Burgess Tarrant County Tax Assesso
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 27
      Case 21-41656-elm7 Doc 17 Filed 08/04/21                                 Entered 08/04/21 17:53:30                               Page 110 of 114


 Fill in this information to identify your case:
     Debtor 1              James                                       Varga
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number           21-41656-7
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Unemployed                                         Piems Clerk
      Include part-time, seasonal,
      or self-employed work.            Employer's name                                                           MISD

      Occupation may include            Employer's address                                                        280 Nelson-Wyatt Rd.
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                                                                                  Mansfield               TX      76063
                                                               City                         State   Zip Code      City                    State   Zip Code

                                        How long employed there?                                                          5 years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00              $2,463.14
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00              $2,463.14




Official Form 106I                                            Schedule I: Your Income                                                                 page 1
     Case 21-41656-elm7 Doc 17 Filed 08/04/21                                                               Entered 08/04/21 17:53:30                              Page 111 of 114


Debtor 1        James Varga                                                                                                           Case number (if known)    21-41656-7
                                                                                                                        For Debtor 1              For Debtor 2 or
                                                                                                                                                  non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00       $2,463.14
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00               $22.47
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00              $205.67
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                $0.00
     5e. Insurance                                                                                              5e.                  $0.00              $939.46
     5f. Domestic support obligations                                                                           5f.                  $0.00                $0.00
     5g. Union dues                                                                                             5g.                  $0.00               $11.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                 $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00            $1,178.60
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00            $1,284.54
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.                  $0.00                 $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                                 8b.                  $0.00                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                 $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.           $2,876.00                    $0.00
     8e. Social Security                                                                                        8e.               $0.00                    $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                 $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                 $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00                 $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $2,876.00                    $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $2,876.00 +         $1,284.54 =                                                        $4,160.54
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                  11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                  12.            $4,160.54
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                        Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Debtor anticipates obtaining gainful employment.
            Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                                        page 2
      Case 21-41656-elm7 Doc 17 Filed 08/04/21                                     Entered 08/04/21 17:53:30                      Page 112 of 114


 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              James                                         Varga                               An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number           21-41656-7
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
     Case 21-41656-elm7 Doc 17 Filed 08/04/21                               Entered 08/04/21 17:53:30             Page 113 of 114


Debtor 1      James Varga                                                               Case number (if known)   21-41656-7
                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.                      $238.00
     6b. Water, sewer, garbage collection                                                            6b.                       $98.00
     6c. Telephone, cell phone, Internet, satellite, and                                             6c.                      $200.00
         cable services
     6d. Other. Specify:     Cable $125/cell phones $256                                             6d.                      $381.00
7.   Food and housekeeping supplies                                                                  7.                       $500.00
8.   Childcare and children's education costs                                                        8.

9.   Clothing, laundry, and dry cleaning                                                             9.                       $100.00
10. Personal care products and services                                                              10.                      $100.00
11. Medical and dental expenses                                                                      11.                      $150.00
12. Transportation. Include gas, maintenance, bus or train                                           12.                      $250.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.                       $50.00
    magazines, and books
14. Charitable contributions and religious donations                                                 14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                           15a.

     15b.   Health insurance                                                                         15b.

     15c.   Vehicle insurance                                                                        15c.                     $338.00
     15d.   Other insurance. Specify:     security system                                            15d.                      $78.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1     2020 Toyota 4Runner                                       17a.                     $995.75
     17b.   Car payments for Vehicle 2     2020 Tri-Glide                                            17b.                     $649.50
     17c.   Other. Specify: 2020 Toyota Rav 4 Lease                                                  17c.                     $462.39
     17d.   Other. Specify: 2019 Pace Tandem Trailer                                                 17d.                     $188.25
18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.   Mortgages on other property                                                              20a.

     20b.   Real estate taxes                                                                        20b.

     20c.   Property, homeowner's, or renter's insurance                                             20c.

     20d.   Maintenance, repair, and upkeep expenses                                                 20d.

     20e.   Homeowner's association or condominium dues                                              20e.



 Official Form 106J                                         Schedule J: Your Expenses                                            page 2
    Case 21-41656-elm7 Doc 17 Filed 08/04/21                                  Entered 08/04/21 17:53:30                  Page 114 of 114


Debtor 1      James Varga                                                                      Case number (if known)   21-41656-7
21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                $4,778.89
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                $4,778.89

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                $4,160.54
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –            $4,778.89
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                ($618.35)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                page 3
